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                                                                7   Communications, LLC
                                                                8
                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




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                                                                    ESTATE OF JERRY A. SPOLAR, a                Case No. 2:23-cv-07633-JFW-MRW
                                                               12   deceased individual; and TONNY JILL
                          2049 Century Park East, Suite 2600




                                                                    WILLIAMSON, an individual,                  [PROPOSED] ORDER GRANTING
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                               STIPULATION TO EXTEND TIME
                                                                                            Plaintiffs,         TO RESPOND TO FIRST
                                                               14                                               AMENDED COMPLAINT
                                                                    v.
                                                               15
                                                                    DISCOVERY COMMUNICATIONS,
                                                               16   LLC, a Delaware limited liability           Date Action Filed: September 13, 2023
                                                                    company,
                                                               17                                               FAC Served: June 25, 2024
                                                                                            Defendants.
                                                               18                                               Current Response Date: July 9, 2024
                                                               19                                               New Response Date: August 8, 2024
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                                                                                                                                       [PROPOSED] ORDER


                                                                    83891-00023/5222283.1
                                                Case 2:23-cv-07633-SVW-MAA Document 43-1 Filed 07/02/24 Page 2 of 2 Page ID #:493



                                                                1                                    PROPOSED ORDER
                                                                2            Pursuant to the Stipulation between Plaintiffs Estate of Jerry A. Spolar and
                                                                3   Tonny Jill Williamson (collectively, “Plaintiffs”) and Defendant Discovery
                                                                4   Communications, LLC (“Discovery”), and good cause appearing therefor,
                                                                5            IT IS HEREBY ORDERED that Discovery’s time to respond to the First
                                                                6   Amended Complaint is extended through and including August 8, 2024.
                                                                7
                                                                8            IT IS SO ORDERED
                                                                9
                                                               10    Dated: ____________________
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                                                            THE HONORABLE STEPHEN V. WILSON
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                 DISTRICT COURT JUDGE
                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                                                                                2                         [PROPOSED] ORDER


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